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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                        PORTLAND DIVISION


 PORTLAND GENERAL ELECTRIC                             Case No.: 3:22-cv-00533-SB
 COMPANY, an Oregon corporation,

                                       Plaintiff,

             v.                                        AMENDED SCHEDULING ORDER

 STATE OF OREGON, by and through
 THE OREGON DEPARTMENT OF STATE
 LANDS, and +/- FIVE ACRES OF
 UNIMPROVED LAND ALONG THE
 WILLAMETTE RIVER NEAR WEST
 LINN, OREGON,
                                      Defendant.


         Pursuant to the Court’s Order of July 25, 2022 (ECF No. 22), the above-captioned parties

propose the following case management schedule for the remaining deadlines in this matter.


                                              FED. R. CIV. P. 1


         The parties have conferred regarding the efficient disposition of this case and believe that

setting case management deadlines as set forth below will serve the interests of a just, speedy, and

efficient resolution of this case.




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                                              BACKGROUND


         1.      Status of pleadings

         The complaint was served on Defendant State of Oregon, by and through the Oregon

Department of State Lands (“Defendant” or “State”) through the waiver of service process on April 15,

2022. The State filed its Answer on June 10, 2022.


         Confederated Tribes of the Grand Ronde Community of Oregon (“Grand Ronde Tribe”) moved to

intervene as Defendant on May 19, 2022. The Court granted the motion to intervene and the Grand

Ronde Tribe filed its Answer-in-Intervention on July 14, 2022.


         On August 17, 2022, Confederated Tribes of Siletz Indians (“Siletz Tribe”) moved to intervene as

Plaintiff. PGE supports the Siletz Tribe’s motion to intervene; the State does not oppose based, in part,

on the Siletz Tribe’s representation that it does not intend to assert any claims against the State; the

Grand Ronde Tribe opposes.


         2.      The parties’ Rule 26(f) Report and Discovery Plan

         Through counsel, the parties engaged in a telephonic Rule 26(f) conference on August 23, 2022

and follow up discussions via email. The parties, by and through their undersigned counsel, jointly

submit this Rule 26(f) Report:

         Rule 26(1) (3) (A): what changes should be made in the timing, form, or requirement for

disclosures under Rule 26(a), including a statement of when initial disclosures were made or will be

made:

         The parties agree to waive the Rule 26(a) disclosures except that Plaintiff PGE will promptly send

to Intervenor-Defendant Grand Ronde a copy of the appraisal on defendant property and any

resolutions adopted by the Board of Directors declaring a necessity to acquire all of DSL’s title to the

property.




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         Rule 26(f)(3)(B): The subjects on which discovery may be needed, when discovery should be

completed, and whether discovery should be conducted in phases or be limited to or focused upon

particular issues:


         Defendant State of Oregon does not anticipate taking any fact discovery and is in the process of

evaluating its need for expert testimony as to the valuation of the property.


         PGE does not anticipate taking any fact discovery and its need for expert discovery will be

limited to matters dealing with an appraisal from the State of Oregon, if any.


         Intervenor-Defendant Grand Ronde will conduct fact discovery relating to the claims and

defenses in this case primarily through written means. However, Grand Ronde reserves the right to

conduct depositions of non-expert witnesses. Grand Ronde does not intend to seek expert discovery or

utilize any experts.


         Rule 260(3)(C): Any issues about disclosure, discovery, or preservation of electronically stored

information, including the form or forms in which it should be produced:


         The parties do not anticipate issues concerning discoverable electronically stored information

and have discussed and agreed to preserve all such information.


         Rule 26(1) (3) (D): Any issues about claims of privilege or of protection as trial-preparation

materials, including—if the parties agree on a procedure to assert these claims after production—

whether to ask the court to include their agreement in an order under Federal Rule of Evidence 502:

         The parties will provide privilege logs for any documents over which privilege is claimed. The

parties agree to work cooperatively to prevent inadvertent disclosure of privileged materials and will

continue to meet and confer if issues concerning privileged or protected materials arise.

         Rule 26(f)(3)(E): What changes should be made in the limitations on discovery imposed under

these rules or by local rule, and what other limitations should be imposed:




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         The parties do not anticipate any changes to the limitations on discovery imposed by the Federal

Rules of Civil Procedure or the Local Rules as concerning this discovery in this case.

         Rule 26(f) (3) (F): Any other orders that should be entered by the court under Rule 26(c) or under

Rule 16(b) and (c):

         The parties anticipate that there may be a need for a protective order under Rule 26(c) and

expect that they will submit a stipulated protective order to the Court.

         The parties jointly request that new deadlines be set in this case as follows:




                      Event                   Proposed Deadline


 Fact Discovery Deadline                      January 5, 2023


 Initial Expert Reports                       December 5, 2022




 Rebuttal Expert Reports                      January 25, 2023




 Expert Discovery Deadline                    February 24, 2023




 Dispositive Motions                              •   Motions: April 10, 2023
                                                  •   Response: May 10, 2023
                                                  •   Reply: May 24, 2023




 Trial date                                   60 days after Court’s ruling on
                                              dispositive motions if valuation is the
                                              sole issue for trial; 120 days after


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                             Court’s ruling on dispositive motions if
                             other matters, apart from or in addition
                             to valuation, are at issue for trial.



DATED: November 1, 2022.


                                     Respectfully submitted,


                                     ELLEN F. ROSENBLUM

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